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EXHIBIT "C"

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P.o. Box 65250 _l

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05/18/2014 02:33 PM 12 . 00
LIMITED POWER OF ATTORNEY

Pursuant to the Servicing Agreement (as amended, restated, supplemented or otherwise modified
from time to time, the “Agreement"; capitalized terms not defined herein have the definitions assigned to
such terms in the Agreement), dated as of luly 01, 2003, by and among DLJ Mortgage Capital, lnc.
(“DLJMC"), as 0wner, Lime Homes, Ltd. (“Lime Homes”), as Owner, Lime Properties, Ltd. (“Lime
Properties”), as Owner, Lime Residential, Ltd. (“Lime Residential”), as Ownei‘, and Select Portfolio
Servicing, lnc. (“SPS”) as Servicer, Lime Residential hereby appoints Select Poitfolio Servicing, lnc. as
its true and lawful attorney-in-fact and in its name, place and stead to take the following designated
actions with respect to any mortgage loan or real estate owned property which is subject to the

Agreement:

1. To ask, demand, sue for, collect and receive all sums of money, debts or other obligations of
any kind with respect to a Mortgage Loan which are now or shall after this date become due, owing or
payable, or otherwise belong to Lime Residential; to settle and compromise any of such debts or
obligations that may be or become due to Lime Residential; to endorse in the name of the Lime
Residential for deposit in the appropriate account any instrument payable to or to the order of Lime
Residential; in each case with respect to a Mortgage Loan.

2. To make demand(s) on behalf of Lime Residential upon any or all parties liable on a Mortgage
Loan; to declare defaults with respect to a Mortgage Loan; to give notices of intention to accelerate; to
give notices of acceleration and any other notices as Servicer deems reasonably necessary or appropriate;
to post all notices as required by law and the documents securing a Mortgage Loan in order to foreclose
such Mortgage Loan; to handle all aspects of foreclosure on behalf of Lime Residential, including, but not
limited to, conducting the foreclosure sale, bidding for Lime Residential and executing all documents,
including all deeds and eonveyances, needed to effect such foreclosure sale and/or liquidation; to execute
any documents or instruments necessary for the offer, listing, closing of sale, and conveyance of REO
Property, including, but not limited to, grant, warranty, quit claim and statutory deeds or similar
instruments of conveyance; to execute any documents or instruments in connection with any bankruptcy
or receivership of a mortgagor on a Mortgage Loan; to file suit and prosecute legal actions against all
parties liable for amounts due under a Mortgage Loan, including, but not limited to, any deficiency
amounts due following foreclosure; to take such other actions and exercise such rights which may be
taken by Lime Residential under the terms of any Mortgage Loan, including, but not limited to,
satisfaction, release, cancellation or discharge of mortgage, eviction, unlawful detainer, or similar
dispossessory proceeding sale, taking possession of, release of security instruments, realization upon all
or any part of a Mortgage Loan or any collateral therefor or guaranty thereof; and to assign, convey,
accept, or otherwise transfer, Lime Residential interest in any Mortgage Loan.

3. To perform all other acts and do all other things as may be reasonably necessary to manage
and service the Mortgage Loans under the terms of the Agreement.

 

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WHEN RECORDED RETURN TO:
SELECT PORTFOLIO SERVIC[NG, INC.
DOCUMENT CONTROL DEPARTMENT
P.O. BOX 65250

SALT LAKE Cl'l`\’, UT 8416§-0250

This instrument is to be construed and interpreted as a Limited Power of Attorney regarding a
Mortgage Loan. The enumeration of specific items, acts, rights and powers is not intended to, nor does it
give rise to and it is not to be construed as a general power of attorney. Notwithstanding anything herein
to the contrary, use of this Limited Power of Attorney is restricted to use in connection with the Moltgage
Loans as defined in the Agreernent and is limited to those actions reasonable and necessary for the
Servicer to carry out the provisions of the Agreement in accordance with the terms thereof, applicable law
and accepted servicing practices of prudent servicers.

This Limited Power of Attorney shall be governed by and construed in accordance with the laws
of the State of New York.

IN WITNESS WHEREOP Lime Residential, Ltd. has hereunto caused this Limited Power of
Attorney to be executed by its duly authorized representatives on this ‘5| day of .lune, 2014.

Lime Resi<%
By:

Name: Da(/vid Nc{]gebauer
Title: Vice Presidenl

WITNESS:

By; ®/‘-//

Name: Derr§trius Nonas

is-

 

STATB OF New York )
) ss
COUNTY OF New York )

On .lune l , 2014, before me personally appeared David Neugebauer, known to me to be a
Vice President of Lime Residential, Ltd., that executed the preceding Limited Power of Attorney and
also known to me to be the person who executed it on behalf of said compauy, and acknowledged to me
that such company executed the preceding Limited Power of Attorney.

IN WITNESS WHEREOF, Ihave hereunto set my hand and affixed my official seal the year and
day in this certificate first written.

    

GLORIA JOHNSON _
lst Public, State of New'{o?k
No. 01J06015595
tluatlned tn Bronx County
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